                        Case 2:23-cv-00169-MTL Document 14 Filed 02/17/23 Page 1 of 2
AO 120 (Rev. 08/10)

                            Mail Stop 8                                                        REPORT ON THE
TO:
         Director of the U.S. Patent and Trademark Office                              FILING OR DETERMINATION OF AN
                           P.O. Box 1450                                               ACTION REGARDING A PATENT OR
                    Alexandria, VA 22313-1450                                                    TRADEMARK

                 In Compliance with 35 U.S.C. § 290 and/or 15 U.S.C. § 1116 you are hereby advised that a court action has been
         filed in the U.S. District Court                               of Arizona                                     on the following
      G Trademarks or         G Patents.    (   G   the patent action involves 35 U.S.C. § 292.):

DOCKET NO.                        DATE FILED                        U.S. DISTRICT COURT
                                                                                                        of Arizona
PLAINTIFF                                                                    DEFENDANT




        PATENT OR                      DATE OF PATENT
                                                                                        HOLDER OF PATENT OR TRADEMARK
      TRADEMARK NO.                    OR TRADEMARK
1

2

3

4

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                                In the above—entitled case, the following patent(s)/ trademark(s) have been included:
DATE INCLUDED                     INCLUDED BY
                                                         G
                                                     Amendment                  G   Answer          G   Cross Bill   G   Other Pleading
        PATENT OR                      DATE OF PATENT
                                                                                        HOLDER OF PATENT OR TRADEMARK
      TRADEMARK NO.                    OR TRADEMARK
1

2

3

4

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                      In the above—entitled case, the following decision has been rendered or judgement issued:
DECISION/JUDGEMENT




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                      Case 2:23-cv-00169-MTL Document 14 Filed 02/17/23 Page 2 of 2
O AO 121 (6/90)
TO:

                  Register of Copyrights                                                           REPORT ON THE
                  Copyright Office                                                         FILING OR DETERMINATION OF AN
                  Library of Congress                                                             ACTION OR APPEAL
                  Washington, D.C. 20559                                                       REGARDING A COPYRIGHT



     In compliance with the provisions of 17 U.S.C. 508, you are hereby advised that a court action or appeal has been filed
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                                                                     COURT NAME AND LOCATION
        G ACTION           G APPEAL
DOCKET NO.                      DATE FILED                                                                of Arizona

PLAINTIFF                                                                         DEFENDANT




       COPYRIGHT
                                                            TITLE OF WORK                                              AUTHOR OR WORK
    REGISTRATION NO.

1

2

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      In the above-entitled case, the following copyright(s) have been included:
DATE INCLUDED                   INCLUDED BY
                                         G Amendment                 G Answer               G Cross Bill           G Other Pleading
       COPYRIGHT
                                                            TITLE OF WORK                                              AUTHOR OF WORK
    REGISTRATION NO.

1

2

3                                                                     .


    In the above-entitled case, a final decision was rendered on the date entered below. A copy of the order or judgment
together with the written opinion, if any, of the court is attached.
COPY ATTACHED                                                WRITTEN OPINION ATTACHED                                     DATE RENDERED

            G Order        G Judgment                                     G Yes        G No

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